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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

 POSER INVESTMENTS, INC.,
 .
      Plaintiff
 v.                                                    6:13-mc-00018-CEH-TBS

 RAVIN HOTELS & INVESTMENTS, LLC
 GIRDHARI SANKAR, and
 JEYASELVAN KANAGASABAPATHY,

       Defendants,
 ____________________________________/

                                          STIPULATION

          This stipulation (the “Agreement”) is made and entered into by and between Poser

 Investments,    Inc.,   California    corporation    (“Poser”),    Jeyaselvan   Kanagasabapathy

 (“Kanagasabapathy”), JLM Hotels, LLC, a Florida limited liability company (“JLM Hotels”), JL

 Hotel Management, LLC, a Florida limited liability company (“JL Hotel Management”), JL

 Hospitality Management, LLC, a Florida limited liability company (“JL Hospitality”), and Sun

 Hospitality Inn, LLC, a Florida limited liability company (“Sun Hospitality”) (JLM Hotels, JL

 Hotel Management, JL Hospitality, and Sun Hospitality are referred to collectively hereinafter as

 the “JK Entities”; Poser, Kanagasabapathy, and the JK Entities are referred to collectively

 hereinafter as the “Parties”). The Parties stipulate and agree as follows:

          1.    Poser is the owner and holder of a judgment entered on December 19, 2012 by the

 United States District Court for the District of New Jersey in the case styled as Travelodge

 Hotels, Inc. v. Ravin Hotels & Investments, LLC, Girdhari Sankar, and Jeyaselvan

 Kanagasabapathy, Case No. 2:11-cv-02503-WJM-MF in favor of Travelodge Hotels, Inc. and

 against Kanagasabapathy and Girdhari Sankar in the amount of $457,601.14, plus interest at the

 statutory rate (the “Judgment”). On February 21, 2013, the Judgment was registered in the


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 United States District Court for the Middle District of Florida in Case No.: 6:13-mc-00018-CEH-

 TBS (the “Court”). On November 30, 2016, Travelodge Hotels, Inc. assigned the Judgment to

 Poser Investments, Inc.

         2.        As of June 20, 2018, Kanagasabapathy and Girdhari Sankar are indebted to Poser

 on the Judgment as follows:

              Judgment                                       $    457,601.14
              Interest (.150% for 2,009 days)                $    3,778.03
              Post-judgment payment received                 $    (1,439.20)
              Attorneys’ Fees and Costs                      $    30,000.00
              Total Indebtedness as of June 20, 2018         $    489,939.97


         3.        Solely and exclusively as the Judgment relates to Kanagasabapathy, Poser agrees

 to forbear from (i) taking or pursuing any further actions, efforts, activities or proceedings; (ii)

 seeking or attempting to enforce or obtain collection of the Judgment; and (iii) the exercise of

 Poser’s rights and remedies, whether at law, in equity, by agreement or otherwise, available to it

 as result of the Judgment, all collectively referred to as the “Forbearance” so long as:

                      a. Poser   receives    payment    of       TWO   HUNDRED     NINETY      FIVE

                          THOUSAND          DOLLARS     and       NO   CENTS   ($295,000.00)   from

                          Kanagasabapathy as follows:

                              i. On or before June 26, 2018, Poser receives payment of FIFTY

                                 THOUSAND DOLLARS and NO CENTS ($50,000.00) from

                                 Kanagasabapathy;

                             ii. On or before July 26, 2018, Poser receives payment of an

                                 additional FORTY THOUSAND EIGHT HUNDRED THIRTY

                                 THREE DOLLARS and THIRTY FOUR CENTS ($40,833.34)

                                 from Kanagasabapathy;

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                    iii. On or before August 26, 2018, Poser receives payment of an

                        additional FORTY THOUSAND EIGHT HUNDRED THIRTY

                        THREE DOLLARS and THIRTY FOUR CENTS ($40,833.34)

                        from Kanagasabapathy;

                    iv. On or before September 26, 2018, Poser receives payment of an

                        additional FORTY THOUSAND EIGHT HUNDRED THIRTY

                        THREE DOLLARS and THIRTY FOUR CENTS ($40,833.34)

                        from Kanagasabapathy;

                     v. On or before October 26, 2018, Poser receives payment of an

                        additional FORTY THOUSAND EIGHT HUNDRED THIRTY

                        THREE DOLLARS and THIRTY FOUR CENTS ($40,833.34)

                        from Kanagasabapathy;

                    vi. On or before November 26, 2018, Poser receives payment of an

                        additional FORTY THOUSAND EIGHT HUNDRED THIRTY

                        THREE DOLLARS and THIRTY FOUR CENTS ($40,833.34)

                        from Kanagasabapathy;

                    vii. On or before December 26, 2018, Poser receives payment of an

                        additional FORTY THOUSAND EIGHT HUNDRED THIRTY

                        THREE DOLLARS and THIRTY CENTS ($40,833.30) from

                        Kanagasabapathy;

                   viii. Kanagasabapathy and/or the JK Entities shall refrain from making

                        any claim against Poser, or any of Poser’s predecessors in interest,




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                               and shall otherwise perform in strict accordance with each and

                               every provision contained in this Agreement;

                           ix. Nothing in this Agreement, including the releases herein, shall

                               exclude, prevent, discharge, and/or release the Parties from

                               performing any of the obligations set forth within this Agreement;

                            x. Poser may apply all payments herein at its sole discretion; and

                           xi. Nothing in this agreement shall release, satisfy, or discharge

                               Girdhari Sankar from the Judgment. The Forbearance pursuant to

                               this Agreement shall not apply, benefit, or inure to the benefit of

                               Girdhari Sankar. There shall be no obligation for Poser to forbear

                               from enforcing the Judgment against Girdhari Sankar.

         4.     If any payment or other obligation under this Agreement is not made in full or

 performed in full, when due and in the form required herein, same shall constitute a default

 hereunder (a “Default”). In the event of a Default, Poser shall not be required to provide any

 notice whatsoever of any such Default to any party including, without limitation, to

 Kanagasabapathy or the JK Entities. Poser shall be immediately (i) relieved of the Forbearance;

 (ii) relieved of the obligation to forbear; (iii) entitled to the ex parte entry of the agreed final

 judgment attached hereto as Exhibit 1; and (iv) entitled to exercise any other rights and remedies

 it may have to collect the total indebtedness due under the Judgment, less a credit for any

 payment(s) tendered pursuant to this Agreement.

         5.     Except to enforce this Agreement, Kanagasabapathy and the JK Entities,

 independently or jointly, shall refrain from commencing any action of any kind against Poser

 arising in any way out of this subject litigation or the Judgment.



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         6.     In the event of Default, Poser shall be entitled to retain all payments made

 pursuant to this Agreement. In the event of Default, this Agreement shall survive except (i)

 Poser’s release of the Kanagasabapathy; (ii) the right of Kanagasabapathy to pay less than the

 full amount owed on the total indebtedness the Judgment; and (iii) the right of any party to pay

 less than the full amount owed on the total indebtedness the Judgment.

         7.     Payments made pursuant to this Agreement shall be made by wire transfer to

 counsel for Poser’s client trust account.

                    a. Wire Instructions:




         8.     Upon the passage of ninety one (91) days from the latter date of receipt by Poser

 of all payments required herein, and provided that no bankruptcy proceeding has been

 commenced by or against Kanagasabapathy or the JK Entities, Poser shall release solely

 Kanagasabapathy from the Judgment and any claims that were or could have been asserted

 pursuant to the Judgment. Should Kanagasabapathy or any of the JK Entities file or become the

 subject of a bankruptcy proceeding on or before the date that is ninety one (91) days after the

 latter date of receipt by Poser of the payments required herein, this Agreement shall be in Default

 and Poser’s obligations under this Agreement shall terminate. Poser, Kanagasabapathy, and the

 JK Entities agree that, in consideration of the recitals and mutual covenants contained herein, and

 for other good and valuable consideration, including the Forbearance, the receipt and sufficiency

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 of which are acknowledged, in the event Kanagasabapathy or any of the JK Entities (i)

 voluntarily files with any bankruptcy court of competent jurisdiction or be the subject of any

 petition under Title 11 of the U.S. Code, as amended; (ii) voluntarily is the subject of any order

 for relief issued under such Title 11 of the U.S. Code, as amended; (iii) voluntarily files or is the

 subject of any petition seeking any reorganization, arrangement, composition, readjustment,

 liquidation, dissolution, or similar relief under any present or future federal or state act or law

 relating to bankruptcy, insolvency, or other relief for debtors; (iv) seeks, consents to, or

 acquiesces in the appointment of any trustee, receiver, conservator, or liquidator; or (v) is the

 subject of any order, judgment, or decree entered by any court of competent jurisdiction

 approving a petition filed against such party for any reorganization, arrangement, composition,

 readjustment, liquidation, dissolution, or similar relief under any present or future federal or state

 act or law relating to bankruptcy, insolvency, or relief for debtors, Poser shall thereupon be

 entitled to relief from any automatic stay imposed by Section 362 of Title 11 of the U.S. Code, as

 amended, or otherwise, on or against the exercise of the rights and remedies otherwise available

 to Poser under all agreements between Poser, Kanagasabapathy, and the JK Entities, and as

 otherwise provided by law. Upon the passage of ninety one (91) days from the latter date of

 receipt by Poser of all payments required herein, Poser shall provide Kanagasabapathy’s counsel

 via FedEx (at address: Nardella & Nardella, Attn: Christopher Lerch, Esq., 250 East Colonial

 Drive, Suite 102, Orlando, Florida 32801) with a fully executed satisfaction of judgment,

 substantially similar to the satisfaction of judgment attached hereto as Exhibit 2.

 Kanagasabapathy shall be solely responsible for the filing of the satisfaction of judgment in any

 jurisdiction he deems appropriate.




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         9.     To induce Poser to enter into this Agreement, Kanagasabapathy and the JK

 Entities, for themselves and their respective agents, attorneys, successors, predecessors,

 affiliates, members, heirs, personal representatives, and assigns, release Poser Investments, Inc.

 and its manager(s), attorney(s) in fact, and affiliates (including, without limitation , Travelodge

 Hotels, Inc. and Jones Walker LLP); and each of their respective predecessors, successors,

 assigns, officers, directors, shareholders, partners, employees, agents, affiliates, parents,

 divisions, and attorneys (collectively, the “Released Parties”), jointly and severally, from any

 and all claims, counterclaims, demands, damages, debts, agreements, covenants, suits, contracts,

 obligations, liabilities, accounts, offsets, rights, actions, and causes of action for contribution and

 indemnity, whether arising at law or in equity (including without limitation, claims of fraud,

 duress, mistake, tortious interference, usury, or control), whether presently possessed or

 possessed in the future, whether known or unknown, whether liability be direct or indirect,

 liquidated or unliquidated, whether presently accrued or to accrue hereafter, whether absolute or

 contingent, foreseen or unforeseen, and whether or not asserted, for or because of or as a result of

 any act, omission, communication, transaction, occurrence, representation, promise, damage,

 breach of contract, fraud, violation of any statute or law, commission of any tort, or any other

 matter whatsoever or thing done, omitted, or suffered to be done by Poser or the Released

 Parties, which have occurred in whole or in part, or were initiated at any time from the beginning

 of time up to and immediately preceding the moment of the execution of this Agreement, except

 for Poser’s duties and responsibilities under this Agreement. The parties agree that the foregoing

 release and waiver is intended to be as broad and inclusive as permitted by applicable laws.




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         10.    Kanagasabapathy and the JK Entities both agree that all statutes of limitations will

 be tolled from the date of execution of the Agreement through the later of (a) the date that full

 performance occurs under this Agreement or (b) the date when a Default occurs.

         11.    Poser, Kanagasabapathy, and the JK Entities each had the benefit of counsel, or

 the opportunity to retain counsel, in connection with executing this Agreement.                Poser,

 Kanagasabapathy, and the JK Entities execute this Agreement knowingly and voluntarily after

 undertaking a thorough investigation and consideration of all the relevant facts and

 circumstances surrounding this action and this Agreement.

         12.    Poser, Kanagasabapathy, and the JK Entities have entered into this Agreement

 without undue influence, fraud, coercion, duress, misrepresentation, or restraint having been

 practiced upon them in connection with the Agreement.

         13.    This Agreement may be executed in several counterparts and all counterparts so

 executed shall constitute one agreement binding on all the Parties hereto, notwithstanding that all

 the Parties are not signatories to the original or the same counterpart. Delivery of an executed

 counterpart of a signature page to this Agreement by facsimile or electronic transmission shall be

 effective delivery of a manually executed counterpart thereof.

         14.    The invalidity, illegality, or unenforceability of any provision of this Agreement,

 pursuant to judicial decree or otherwise, shall not affect the validity or enforceability of any other

 provision of this Agreement, each of which shall remain in full force and effect.

         15.    No failure of any party to exercise any power given under this Agreement, or to

 insist upon strict compliance with any of the terms or conditions specified in this Agreement,

 shall constitute a waiver of such party’s right to demand strict compliance with the terms of this

 Agreement.



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         16.    Nothing contained in this Agreement shall be deemed or construed by the Parties

 or by any third party to create the relationship of principal and agent, partners, joint venturers, or

 of any association whatsoever between Poser, Kanagasabapathy, and/or the JK Entities other

 than the arms-length relationship of creditor and debtors.

         17.    This Agreement is intended by the Parties as a final expression of their agreement

 with respect to the subject matter hereof and as a complete and exclusive statement of the terms

 and conditions thereof, superseding and replacing all prior negotiations between the Parties, or

 any of them, whether written or oral. Any provision of this Agreement may be changed, waived,

 or terminated only by written instrument signed by an authorized signatory of the party against

 whom the change, waiver, or termination is sought to be enforced. Each of the parties to this

 Agreement acknowledges that no other party, or agent or attorney of any other party, has made

 any promise, representation, or warranty whatsoever, express or implied, not contained herein

 concerning the subject matter hereof, to induce the other party to execute this Agreement or any

 of the other documents referred to herein, and each party acknowledges that he, she, or it has not

 executed this Agreement or such other document(s) in reliance upon any such promise,

 representation, or warranty not contained herein. The Parties acknowledge that all of the terms

 of this Agreement were negotiated at arm’s length and that this Agreement and all document(s)

 executed in connection with it were prepared and executed without undue influence of any kind

 exerted by any party upon any other party. No representations have been made by any party

 regarding the taxability of all or any portion of this Agreement. The Parties have had the

 opportunity to seek independent advice regarding the tax consequences of this Agreement, and

 accept responsibility for satisfaction of any tax obligations that may result from this Agreement.




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 The Parties acknowledge that any agreements, including waivers, were done intelligently,

 voluntarily, and with full and complete understanding of the consequences thereof.

         18.    It is the intent of the Parties that the Agreement shall not in any way adversely

 affect the lien(s) held by Poser pursuant to the Judgment or any other pleading entered by the

 Court. To the extent this Agreement or any provision hereof shall be construed by a court of

 competent jurisdiction as subordinating the lien priority of the Judgment to any claim which

 would otherwise be subordinate thereto (and provided that ruling is not appealed or appealable),

 such provision or provisions shall be void and of no force and effect; except that this Agreement

 shall constitute, as to any provision so construed, a lien upon the collateral subordinate to such

 third party’s claims. The Judgment and this Agreement shall be construed to give Poser the

 greatest possible cumulative rights and remedies.

         19.    The Parties agree that each provision contained in this Agreement shall be

 construed as independent of any other provision of this Agreement. In the event any provision or

 a portion of a provision of this Agreement is found to be unenforceable, that portion of the

 provision shall be stricken and the remaining portion and provisions of this Agreement shall be

 enforceable.

         20.    This Agreement shall be construed, interpreted, enforced, and governed by and in

 accordance with the laws of the State of Florida, excluding the principles thereof governing

 conflicts of law.

         21.    This Agreement shall be binding upon, and shall inure to the benefit of, the

 respective successors and assigns of the Parties.

         22.    Time is of the essence of each provision of this Agreement.




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         23.    THE PARTIES KNOWINGLY, VOLUNTARILY, AND INTENTIONALLY

 WAIVE THE RIGHT ANY OF THEM MAY HAVE TO A TRIAL BY JURY WITH

 RESPECT TO ANY LITIGATION BASED HEREON, OR ARISING OUT OF, UNDER

 OR IN CONNECTION WITH THE JUDGMENT, THIS AGREEMENT, OR ANY

 DOCUMENT          CONTEMPLATED            TO       BE   EXECUTED       IN    CONJUNCTION

 HEREWITH,        OR    ANY     COURSE         OF    CONDUCT,      COURSE      OF DEALING,

 STATEMENT (WHETHER VERBAL OR WRITTEN) OR ACTION OF THE PARTIES.

 THIS PROVISION IS A MATERIAL INDUCEMENT FOR POSER ENTERING INTO

 THIS AGREEMENT.

         24.    Upon execution of this Agreement the Parties agree to the entry of the order

 approving this Agreement attached hereto as Exhibit 3. Counsel for Poser is hereby authorized

 to submit the Stipulation to the Court and seek entry of the order approving this Agreement upon

 execution of this Agreement by all Parties.




                                  [Signatures on following page]




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                                            EXHIBIT 1

                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

 POSER INVESTMENTS, INC.,

         Plaintiff
 v.                                                   6:13-mc-00018-CEH-TBS

 RAVIN HOTELS & INVESTMENTS, LLC
 GIRDHARI SANKAR, and
 JEYASELVAN KANAGASABAPATHY,

       Defendants,
 ____________________________________/

                                 AGREED FINAL JUDGMENT

         This cause came to be heard on Poser Investments, Inc.’s Judgment against Jeyaselvan

 Kanagasabapathy, the Stipulation (D.E.___) filed on _________________, the Order (D.E.

 ____) entered on _________________, and the ex-parte motion to enforce Stipulation (D.E. ___)

 filed on _________________ (“Motion”).        Upon the Court’s consideration of the Stipulation

 (D.E.___) filed on _________________, the Order (D.E. ____), and the Motion, examination of

 the pleadings and papers on file, and being further advised in the premises, the Court it is hereby

 ORDERS and ADJUDGES as follows:

         1.      The Motion is GRANTED. The Court finds that it has jurisdiction over the

 subject matter as well as Poser Investments, Inc., JLM Hotels, LLC, JL Hotel Management,

 LLC, JL Hospitality Management, LLC, and Sun Hospitality Inn, LLC.

         2.      The Court further ORDERS AND ADJUDGES that Poser Investments, Inc.

 (whose address is P.O. Box 850, Sierra Madre, CA 91025-0850) shall recover from JLM Hotels,

 LLC (whose address is 5020 W. Irlo Bronson Memorial Hwy, Kissimmee, FL 34746), JL Hotel

 Management, LLC (whose address is 4125 West Vine Street, Kissimmee, FL 34741), JL


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 Hospitality Management, LLC (whose address is 4152 W. Irlo Bronson Memorial Hwy,

 Kissimmee, FL 34741), and Sun Hospitality Inn, LLC (whose address is 7071 103rd Street,

 Jacksonville, FL 32210), jointly and severally, the sum of $489,939.97, for which let execution

 issue.

           4.    The Court further ORDERS AND ADJUDGES that JLM Hotels, LLC, JL Hotel

 Management, LLC, JL Hospitality Management, LLC, and Sun Hospitality Inn, LLC shall each

 complete under oath Florida Rule of Civil Procedure Form 1.977 (Fact Information Sheet) (“Fact

 Information Sheet”) and serve it on the Plaintiff’s attorney within 45 days from the date of this

 final judgment, unless the judgment is satisfied or post-judgment discovery is stayed.

           5.    The Court retains jurisdiction to enter further judgments and orders that are

 proper, including, without limitation, an order compelling the JLM Hotels, LLC, JL Hotel

 Management, LLC, JL Hospitality Management, LLC,                and Sun Hospitality Inn, LLC to

 complete the Fact Information Sheet including all required attachments, and serve it on judgment

 creditor's attorney or the judgment creditor if the judgment creditor is not represented by an

 attorney. The Court further ORDERS AND ADJUDGES that it shall retain jurisdiction to enter

 any other or further orders or relief that are just and proper to adjudicate all claims in this action

 other than the claims resolved by this judgment and any post-judgment proceedings initiated

 herein.

           DONE AND ORDERED, this ____ day of __________________, 20__.

                                                        _________________________________
                                                        Charlene Edwards Honeywell
                                                        United States District Judge
 Copies to:      Counsel of record




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                                                EXHIBIT 2

                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA

 POSER INVESTMENTS, INC.,

         Plaintiff
 v.                                                        6:13-mc-00018-CEH-TBS
 RAVIN HOTELS & INVESTMENTS, LLC
 GIRDHARI SANKAR, and
 JEYASELVAN KANAGASABAPATHY,

       Defendants,
 ____________________________________/

                                  SATISFACTION OF JUDGMENT

         KNOW ALL PERSONS BY THESE PRESENTS:
         That: Poser Investments, Inc., a California Corporation, the owner and holder of the

 Order & Judgment entered by the United States District Court for the District of New Jersey on

 December 19, 2012 in Case Number 2:11-cv-02503-WJM-MF in favor of plaintiff Travelodge

 Hotels, Inc. and against, inter alia, Jeyaselvan Kanagasabapthy in the amount of $457,601.14.

 (“Judgment”)1, acknowledges receipt of good and valuable consideration in satisfaction thereof,

 and hereby releases solely defendant, Jeyaselvan Kanagasabapthy from the lien of the Judgment

 and directs the Clerk of Court to enter said satisfaction and release of record. This release does

 not apply to any judgment debtor(s) other than Jeyaselvan Kanagasabapthy.

         .

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 1
  The Judgment was transferred and assigned to Poser Investments, Inc. pursuant to the Assignment of Judgment
 dated November 30, 2016.


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         IN WITNESS WHEREOF, undersigned Poser Investments, Inc., has caused these
 presents to be executed this   day of ______________, 2018.


                                             POSER INVESTMENTS, INC.,
                                             a California corporation

                                             By:
                                             Name:                          ______
                                             Its:                           _____
                                             Dated:______________________________
 STATE OF ___________________
 COUNTY OF _________________
        Sworn to and subscribed before me on _____________ ________, 2018, by
 ____________________, as authorized signatory of Poser Investments, Inc., a California
 corporation. He/she signatory is personally known to me and did take an oath.

 Signature of person taking acknowledgment

 Name of acknowledger typed, printed or stamped
 Notary Public
 Title or rank




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                                             EXHIBIT 3

                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA

 POSER INVESTMENTS, INC.,

         Plaintiff,
 v.                                                      6:13-mc-00018-CEH-TBS

 RAVIN HOTELS & INVESTMENTS, LLC
 GIRDHARI SANKAR, and
 JEYASELVAN KANAGASABAPATHY,

       Defendants,
 ____________________________________/

                       AGREED ORDER APPROVING STIPULATION

         This cause came before the court upon the Stipulation (D.E. ___) filed on June ____,

 2018 between, Poser Holdings, LLC, Jeyaselvan Kanagasabapathy, JLM Hotels, LLC, JL Hotel

 Management, LLC, JL Hospitality Management, LLC, and Sun Hospitality Inn, LLC. Upon

 consideration, the Court approves and adopts the Stipulation as an order of the court and retains

 jurisdiction to enforce the Stipulation’s terms.

         DONE AND ORDERED, this ____ day of __________________, 2018.

                                                         _________________________________
                                                         Charlene Edwards Honeywell
                                                         United States District Judge
 Copies to:      Counsel of record




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